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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

    Civil Action No. 20-cv-02985-WJM-SKC
    DENVER HOMELESS OUT LOUD, et al.

          Plaintiffs,
    v.

   DENVER, COLORADO, et al.

          Defendants.


              ASHLEY L. ZURKAN’S MOTION TO WITHDRAW AS ATTORNEY


          Ashley L. Zurkan, counsel for Environmental Hazmat Services (“EHS”), respectfully

   moves the Court to withdrawal as counsel of record in this matter. Good cause exists to grant this

   Motion because I am no longer affiliated with the firm Gablehouse Granberg, LLC. Timothy R.

   Gablehouse, Melanie J. Granberg (lead counsel) and Evan C. Singleton will remain active

   counsel for EHS.

          Respectfully submitted this 4th day of March, 2021.

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 4, 2021 the above-stated ASHLEY L.
   ZURKAN’S MOTION TO WITHDRAW AS ATTORNEY was served electronically via
   CM/ECF System on the following:

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   For the City and County of Denver and State Defendants:

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                                                                Ashley L. Zurkan
